
BISCHOFF, J.
This is an action for broker’s commissions, claimed upon a sale of real estate owned by the defendant, and the sole issue litigated at the trial was whether or not the plaintiff Avas the procuring cause of the sale, it having been admitted that, should he establish this fact, a recovery should result. There Avas evidence in support of the conclusion reached by the jury that the plaintiff was the procuring cause; therefore the court properly refused to dismiss the complaint, and, since, the judgment was affirmed by the general term, we must uoav hold the case to have been correctly determined upon the facts. Carney v. Reily (handed down herewith) 40 N. Y. Supp. 1123.
HoAvever, while the exceptions taken to rulings upon evidence and upon requests to charge are in most instances found to be without merit, one appears which Ave think must call for a new trial. This exception was taken to the exclusion of a question asked the plaintiff’s witness Volkenning (the purchaser’s agent through Avhom the transaction Avas conducted Avith the defendant) on cross-examination, as folloAvsr “Q. Bo you remember, at the time you made the contract for this property, two question were asked of you, one relating to your poAver to sign for your Avife, and the other question relating to whether or not there Avas a broker in the sale?” It is claimed that the object of this question was *432to prove a statement made out of court by the witness contrary to his own testimony, in so far as such testimony tended to show that the sale was induced by the plaintiff’s •efforts; and we think that it should have been allowed. The question was not misleading in its form, and the appellant was entitled to bring out the fact from this witness, if he could, that the latter had made a statement out of court in contradiction of his testimony at the trial; or, if the witness denied making the statement, to thus lay the foundation for his impeachment by other witnesses upon the point. The issue with regard to which this statement was claimed to have been made was certainly material. It was the sole issue before the court, and the testimony of this witness, Yollcenning in favor of the plaintiff, was the principal evidence in support of the case. We conclude that the ruling was clearly to the prejudice of the appellant, and that there should be a new trial of the cause.
Judgment reversed, and new trial ordered, with costs, appellant to abide the event.
All concur.
